                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

PATRINA COULON                            CASE NO. 6:21-CV-00019

VERSUS                                    JUDGE JUNEAU

SCHOOL BOARD OF ST MARY PARISH            MAGISTRATE JUDGE HANNA
ET AL

                                SCHEDULING ORDER

   The following case-specific deadlines are hereby set in accordance with Fed. R.
Civ. P. 16(b):

 BENCH TRIAL:                           August 1, 2022 at 9:30 a.m. in Lafayette,
                                        Ctrm 1 before JUDGE Michael J. Juneau.
                                        (Counsel shall report to the judge’s
                                        chambers thirty minutes prior to the start
                                        of trial.)
 PRETRIAL CONFERENCE (“PTC”):           July 22, 2022 at 11:30 a.m. in chambers in
                                        Lafayette before JUDGE Michael J. Juneau.



 PRETRIAL DEADLINES:             FOR:
 8/5/2021                  1.    Initial Disclosures. See Fed. R. Civ. P. 26(a)(1).
 21 days after the date          Under Rule 26(a)(1)(D), “A party that is first
 of the scheduling               served or otherwise joined after the Rule 26(f)
 order                           conference must make the initial disclosures
                                 within 30 days after being served or joined. . . .”
 8/9/2021                  2.    Rule 26(f) Conference of Parties. See Fed. R. Civ.
 25 days after the date          P. 26(f). Note: No discovery may take place
 of the scheduling               before the conference absent agreement of the
 order                           parties or court order. Fed. R. Civ. P. 26(d)(1).


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9/2/2021                 3.   Rule 26(f) Report to Court. The format for this
49 days after the date        report is available at
of the scheduling             http://www.lawd.uscourts.gov and Fed. R. Civ. P.
order                         26(f).
1/24/2022                4.   Joinder of Parties and Amendment of Pleadings.
180 days before the           See Fed. R. Civ. P. 14 and 15.
PTC
Within five days of      5.   Copies of Reports of Treating Physicians. Copies
receipt                       of such reports are to be furnished to opposing
                              counsel, not filed in the record. This Court need
                              not be notified when such reports are furnished.
12/27/2021               6.   Plaintiff’s Expert Information/Reports. See Fed.
210 days before the           R. Civ. P. 26(a)(2)(B). Counsel are cautioned that
PTC                           experts will not be allowed to testify regarding
                              material not contained within their reports.
1/24/2022                7.   Defendant’s Expert Information/Reports. See
180 days before the           Fed. R. Civ. P. 26(a)(2)(B). Counsel are cautioned
PTC                           that experts will not be allowed to testify
                              regarding material not contained within their
                              reports.
2/22/2022                8.   Discovery Completion and Discovery Motions.
150 days before the           This is the deadline for completion of all discovery
PTC                           and for submission of any discovery motions (e.g.,
                              motions to compel). This discovery deadline
                              includes production of surveillance evidence,
                              unless the parties opted in to the Lafayette
                              Division’s former surveillance evidence procedure
                              in their Rule 26(f) report. (Leave of court must be
                              obtained before taking the deposition of a
                              surveillant.) A discovery request will be deemed
                              untimely unless the response to that request
                              would be due before the discovery deadline.
3/24/2022                9.   Dispositive Motions. Dispositive motions must
120 days before the           be filed by this date.
PTC


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3/24/2022              10.   Daubert Motions. Daubert motions must be filed
120 days before the          by this date. Daubert motions are challenges to
PTC                          expert testimony and exhibits or demonstrative
                             aids based upon grounds that they are not
                             relevant or reliable under the standards set forth
                             in Daubert v. Merrell Dow Pharmaceuticals, Inc.,
                             509 U.S. 579 (1993) and Kumho Tire Co., Ltd. v.
                             Carmichael, 526 U.S. 137 (1999).
6/22/2022              11.   Motions in Limine. Motions in limine must be
30 days before the PTC       filed by this date. Any response must be filed
                             within seven (7) days.
6/22/2022              12.   Meeting of Counsel to Complete the Pretrial
30 days before the PTC       Order. This meeting must include all TRIAL
                             counsel, but may be by telephone unless
                             otherwise ordered by this Court.
7/8/2022               13.   Joint Pretrial Order. The joint pretrial order (and
14 days before the PTC       all required attachments) must be filed with the
                             Clerk of Court by this date. A fillable form for this
                             report is available at
                             http://www.lawd.uscourts.gov. A copy of the
                             pretrial order (and all required attachments) must
                             be submitted via e-mail to Judge Juneau at
                             Juneau_motions@lawd.uscourts.gov in Word
                             format.

                             For Jury Trials:
                             a. A single jointly-submitted set of jury
                             instructions and a single jointly-submitted jury
                             interrogatory form must be attached to the
                             pretrial order.
                             b. Any dispute concerning a jury instruction or
                             interrogatory must be noted, with proper page-
                             specific cites to the jurisprudence being relied
                             upon to support each party’s position. If the
                             dispute is one of fact to be proven at trial, the
                             fact at issue shall be identified, and the language
                             for an instruction supporting each factual
                             scenario shall be attached noting its application

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                             to that fact, if found. The parties must be
                             prepared to discuss disputes as to jury
                             instructions and jury interrogatories at the
                             pretrial conference.
                             c. Counsel shall not duplicate this Court’s
                             boilerplate jury instructions. Copies will be
                             provided upon request.
                             d. Jury instructions taken from the Fifth Circuit
                             Pattern Instructions or from the Louisiana Pattern
                             Instructions may be identified by number only
                             and citation to the edition of the volume used.
                             e. Proposed voir dire questions specific to a party
                             or issue must be attached to the pretrial order.

                             For Bench Trials:
                             Each party’s proposed findings of fact and
                             conclusions of law must be attached to the
                             pretrial order. The conclusions of law from
                             plaintiff are to contain each claim made against
                             each defendant, the remedy or remedies sought,
                             the basis in law relied upon for those claims and
                             remedies, and any jurisprudential gloss upon any
                             statute or code article relied upon with the page
                             cite of the specific language relied upon
                             supporting or interpreting each of plaintiff’s
                             claims and remedies. Plaintiff is to cite the
                             standard or burden of proof it must prove as to
                             each claim, including any right to attorneys’ fees.
                             Defendants are to respond to plaintiff’s claims in
                             the same format, if possible, and additionally cite
                             any affirmative defenses relied upon with the
                             same level of specificity required for plaintiff (i.e.,
                             basis in law, jurisprudential gloss, etc.)
7/8/2022               14.   Bench Books. The parties shall deliver two bench
14 days before the PTC       books to Judge Juneau's chambers for use by the
                             judge and law clerk at trial. The bench books
                             should be tabbed and indexed with a cover sheet
                             on which each party is to state all objections to
                             the admissibility of exhibits. A third copy of the
                             bench book shall be placed at the witness stand
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                                  on the morning of the trial for use by testifying
                                  witnesses. The original exhibits must be entered
                                  into evidence at trial. After trial, the exhibits
                                  actually admitted must also be submitted on CD-
                                  ROM.
 7/8/2022               15.       Trial Depositions. All depositions to be used at
 14 days before the PTC           trial, including video depositions, shall be edited
                                  to remove nonessential, repetitious, and
                                  unnecessary material, as well as objections and
                                  colloquy of counsel. A copy of any edited trial
                                  depositions (paper or video for non-jury trials;
                                  video for jury trials are preferred) shall be
                                  included in the bench books. All objections
                                  thereto must be filed and briefed by this
                                  deadline. Objections to deposition testimony will
                                  be waived unless submitted along with the
                                  deposition transcripts.
 7/15/2022                 16.    Real Time Glossary. The real time glossary shall
 7 days before the PTC            be delivered to the Clerk of Court in Lafayette by
                                  this date, for transmittal to the court reporter.
                                  The glossary shall contain all “key word indexes”
                                  from all depositions taken in the case, all witness
                                  lists, all exhibit lists, and copies of all expert
                                  reports.
 7/15/2022                 17.    Affirmation of ADR Efforts. On or before this
 7 days before the PTC            date, the parties must participate in either (a)
                                  private mediation before a third-party mediator,
                                  or (b) a settlement conference before the
                                  magistrate judge. An affirmation must be filed
                                  with the Clerk of Court by this date, setting forth
                                  the date the parties participated in ADR. The
                                  affirmation should not disclose any monetary
                                  amounts discussed.

       A copy of any dispositive motions, Daubert motions, or motions in limine, as
well as a copy of the pretrial order (with all required attachments) shall be e-mailed
to Judge Juneau at Juneau_motions@lawd.uscourts.gov in Word format.


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      All matters that must be exchanged among counsel must be exchanged by
hand delivery or certified mail, unless all counsel agree otherwise, IN WRITING, or
unless this Court orders otherwise.

       All deadlines in this order are case specific and override any deadlines for the
same matter found in an applicable rule of civil procedure. All other deadlines in
the Federal Rules of Civil Procedure shall govern this case and shall be enforced by
this Court. Counsel should note Rule 26 and Rule 37(c)(1).

      This Court will enforce Fed. R. Civ. P. 30, particularly Rule 30(a)(2)(A) (the
ten-deposition rule) and Rule 30(d)(1) (the rule limiting depositions to one
day/seven hours), absent written stipulation of the parties or court order. This
Court shall enforce Rule 26 unless changed by this case-specific order or by
subsequent court order.

        THUS DONE AND SIGNED in Lafayette, Louisiana, on this 15th day of July,
2021.

                                   BY DIRECTION OF THE COURT
                                   TONY R. MOORE, CLERK

                                   BY: s/Chris Guidry
                                   Deputy Clerk




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                       PRETRIAL ORDER REQUIREMENTS

                 United States District JUDGE Michael J. Juneau


1.   Jurisdictional Basis.

     The jurisdictional basis for all claims shall be explained.


2.   Claims and Responses.

     Any party asserting a claim shall identify the following, as to each claim: (1)
     the law and any contractual provision supporting the claim; (b) the remedy
     prayed for as to each defendant; and (c) the law supporting that remedy as
     to that defendant. This requirement applies to all counterclaims, cross-
     claims, third-party claims, and interventions, and the parties shall state
     whether they have stipulated to any intervention.

     Each party against whom a claim has been asserted shall provide the
     following information: (a) the basis or lack thereof for each claim; (b) all
     affirmative defenses asserted and the legal bases therefor; (c) whether the
     dispute in question is one of law, fact, or contractual interpretation; and (d)
     the law supporting the responses.

     If a bench trial is scheduled, the information regarding claims and responses
     contained in this section shall be supplemented by page-specific citations to
     supporting jurisprudence as to each claim, remedy, defense, and allegation.

     FAILURE TO INCLUDE A CLAIM OR DEFENSE IN THIS ORDER WILL CONSTITUTE
     ABANDONMENT OF THE CLAIM OR DEFENSE.


3.   Issues of Fact and Issues of Law.

     Identify any TRUE issues of fact or law that remain unresolved as of the
     pretrial conference.




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4.   Stipulations.

     List any matters to which the parties have stipulated. Counsel are
     encouraged to stipulate to as many factual and legal issues as possible in the
     interest of reducing costs and delays at trial. If the matter will be tried to a
     jury, counsel shall state whether the stipulations are to be read to the jury.


5.   Will Call Witnesses.

     Each party shall set out a will call witness list that conforms to the
     requirements of Fed. R. Civ. P. 26(a)(3)(A) and include a brief summary (no
     more than two to three sentences) of the subject matter to which each
     witness will testify. Witnesses who are called exclusively for impeachment
     need not be listed. Counsel are to omit or redact any personal identifiers, in
     conformity with Fed. R. Civ. P. 5.2 and LR 5.7.12.


6.   May Call Witnesses.

     Each party shall set out a may call witness list that conforms to the
     requirements of Fed. R. Civ. P. 26(a)(3)(A) and include a brief summary of the
     subject matter to which each witness will testify. Counsel are to omit or
     redact any personal identifiers, in conformity with Fed. R. Civ. P. 5.2 and LR
     5.7.12.


7.   Exhibits.

     Each party shall set out an exhibit list, identifying the exhibits the party will
     use at trial, and conforming to the requirements of Fed. R. Civ. P.
     26(a)(3)(A)(iii). Counsel are to omit or redact any personal identifiers, in
     conformity with Fed.R.Civ.P. 5.2 and LR 5.7.12.


8.   Objections to Witness and Exhibit Lists.

     Each party shall list any objections to the witness or exhibits lists of another
     party, including those objections contained in Fed. R. Civ. P. 26(a)(3)(B). ANY
     OBJECTIONS NOT SPECIFICALLY STATED IN THE PRETRIAL ORDER ARE

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DEEMED WAIVED UNLESS EXCUSED BY THE COURT FOR GOOD CAUSE
SHOWN. If an exhibit has been objected to, a copy of the disputed exhibit
must be made available for review at the pretrial conference.

9.    Counsel Affirmations.

Counsel for each party shall affirm:

a.    That he or she is aware that exhibits are to be published to the jury by
      use of the Visual Presenter or a portable data storage device (e.g.,
      flash drive, CD-ROM, etc.) unless consent of this Court is obtained
      upon a showing of impracticality or prejudice.

b.    That he or she is familiar with the operation of the electronic
      equipment available in the courtroom, or note the date he or she has
      scheduled with the Electronic Coordinator for the Western District of
      Louisiana for training.

c.    That good faith settlement negotiations have been engaged in within
      one week prior to the pretrial conference.

d.    The need, if any, for handicap provisions that are provided by the
      Court.




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